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                                                                                              E-FILED
                                                                   Thursday, 16 June, 2016 05:45:16 PM
                                                                          Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                (SPRINGFIELD DIVISION)

ESTATE OF DENNIS E. ADAMS,                 )
Deceased, By ANGELA DREW,                  )
Administrator                              )
                                           )
                               Plaintiff,  )
                v.                         )
                                           )              No. 13 CV 3300
CHRISTIAN COUNTY,                          )
                                           )
BRUCE KETTLEKAMP, in his official          )
capacity as Sheriff of Christian County,   )
and                                        )
                                           )
ANDREW NELSON, in his official capacity)
as Christian County Jail Administrator and )
in his individual capacity                 )
                                           )
                               Defendants. )

           PLAINTIFF’S PARTIAL MOTION FOR SUMMARY JUDGMENT

       NOW COMES the Plaintiff, ESTATE OF DENNIS E. ADAMS, by and through its

attorneys, Daniel Noll of the Noll Law Office, LLC and Jim Ackerman of the Ackerman Law

Office, pursuant to Rule 56 of the Federal Rules of Civil Procedure and CDIL-LR 7.1(D), moves

this Court to enter summary judgment on the grounds promulgated in Plaintiff’s Memorandum in

Support which is attached hereto as Exhibit 1 as to Counts I-IX.

       In support hereof, attached is the following:


               1) Plaintiff’s Memorandum in Support; and

               2) Plaintiff’s Exhibits.


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       WHEREFORE, the Plaintiff, ESTATE OF DENNIS E. ADAMS, respectfully request

this Honorable Court enter judgment in favor of its behalf as described in Plaintiff’s

Memorandum in Support and for such further relief as this Court deems fair and just.

                                              Respectfully Submitted,

                                              ESTATE OF DENNIS E. ADAMS,
                                              Plaintiff,


                                              BY: ____/s Daniel A. Noll_______
                                              DANIEL A. NOLL
                                              Reg. No. 228987
                                              Noll Law Office LLC
                                              930 E. Monroe
                                              Springfield, IL 62701
                                              (217) 544-8441




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                                    PROOF OF SERVICE

        I hereby certify that on June 16, 2016, I electronically filed the foregoing instrument,
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following:

       Alvin C. Paulson
       Becker, Paulson, Hoerner & Thompsons, P.C.
       5111 West Main Street
       Belleville, Illinois 62226

       James W. Ackerman
       William L. Vig
       Ackerman Law Office
       1201 S. 6th Street
       Springfield, Illinois 62073
       ackermanlaw@yahoo.com
       bill@ackermanlawoffices.com


and I hereby certify that I have mailed by United States Postal Service the document to the
following non-CM/ECF participants:

       Kyle Adams
       314 S. Cleveland
       Farmersville, IL 62533

       Angela Drew
       224 N. Wilson
       Girard, Illinois 62640


                                                    /s/ Daniel A. Noll
                                                    DANIEL A. NOLL
                                                    Reg. No. 228987
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